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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

   GEORGE AINSWORTH,

         Plaintiff,

   v.                                               CASE NO. 8:17-cv-1768-T-23AEP

   DFS SERVICES LLC,

         Defendant.
   ____________________________________/

                                        ORDER

         In accord with the parties’ stipulation (Doc. 23), the action is DISMISSED

   WITH PREJUDICE. The clerk is directed to close the case.

         ORDERED in Tampa, Florida, on March 12, 2018.
